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                       IN THE UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

FRANCISCO JOEL RIVERA,

               Plaintiff,

       v.
                                                          Case No. 3:17-cv-510 (JBA)
FIRST ADVANTAGE BACKGROUND
SERVICES CORP.,

               Defendant

                            JOINT STIPULATION FOR DISMISSAL

       Pursuant to Rule 4l(a)(l), Plaintiff and Defendant stipulate that the complaint herein may

be dismissed with prejudice in accordance with the parties’ settlement agreement, without costs or

fees to any party.

       RESPECTFULLY SUBMITTED AND DATED this 16th day of April, 2018.

FRANCISCO JOEL RIVERA                        FIRST ADVANTAGE BACKGROUND SERVICES CORP.

By:    /s/ Joanne S. Faulkner                By:    /s/ Frederick T. Smith

Joanne S. Faulkner ct04137                   Anthony S. Califano (ct27323)
faulknerlawoffice@snet.net                   acalifano@seyfarth.com
123 Avon Street                              SEYFARTH SHAW LLP
New Haven, CT 06511-2422                     Seaport East
(203) 772-0395                               Two Seaport Lane, Suite 300
                                             Boston, MA 02210-2028
James A. Francis (admitted pro hac vice)     Telephone: (617) 946-4800
John Soumilas (admitted pro hac vice)        Facsimile: (617) 946-4801
jfrancis@consumerlawfirm.com
jsoumilas@consumerlawfirm.com                Frederick T. Smith
FRANCIS & MAILMAN, P.C.                      fsmith@seyfarth.com
Land Title Building, Suite 1902              SEYFARTH SHAW LLP
100 South Broad Street,                      1075 Peachtree Street, N.E.
Philadelphia, PA 19110                       Suite 2500
(215) 735-8600                               Atlanta, GA 30309-3958
                                             Telephone: (404) 885-1500
                                             Facsimile: (404) 892-7056
